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In the Matter Of:
BOND V. FEDERATED SERVICE

SU2021CV002440

CHASTITY MILLSAPS
August 02, 2022

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CHASTITY MILLSAPS August 02, 2022
BOND V. FEDERATED SERVICE 1
IN THE STATE COURT OF MUSCOGEE COUNTY
STATE OF GEHORGIA
ANTONIO BOND, )
)
Plaintiff, )
) CIVIL ACTION
Vv. )
) FILE NO. SU2021CV002440
FEDERATED SERVICE )
INSURANCE CO., ET AL., )
)
Defendants. )
REMOTE VIDEOCONFERENCE DEPOSITION
OF
CHASTITY MILLSAPS
August 2, 2022
1:58 p.m.
McDonough, Georgia
Linda Panzica, CCR No. 2773

@ ESQUIRE 800.211 DEPO (3976)

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BOND V. FEDERATED SERVICE 2

APPEARANCES OF COUNSEL

ON BEHALF OF THE PLAINTIFF:

No appearance of counsel was made by or on behalf
of the Plaintiff

ON BEHALF OF THE DEFENDANTS :

Zach M. Matthews, Attorney at Law
McMickle, Kurey & Branch, LLP

217 Roswell Street

Suite 200

Alpharetta, Georgia 30009
678.824.7800
zmatthews@mkblawfirm.com

and via Zoom

Bryan G. Forsyth, Attorney at Law
Hall Booth Smith, P.c.

1301 ist Avenue

Suite 100

Columbus, Georgia 31901
706.243.6257
bforsyth@hallboothsmith.com

ALSO PRESENT:

Lucas Riahi, Videographer

@ ESQUIRE 800.211 DEPO (9370)
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CHASTITY MILLSAPS August 02, 2022
BOND V. FEDERATED SERVICE 3

WITNESS: CHASTITY MILLSAPS
EXAMINATION PAGE

Cross-Examination By Mr. Matthews 6

THERE WERE NO EXHIBITS PRESENTED FOR

INDEX OF EXAMINATION

INDEX TO EXHIBITS

IDENTIFICATION.

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CHASTITY MILLSAPS August 02, 2022
BOND V. FEDERATED SERVICE 4

REMOTE VIDEOCONFERENCE DEPOSITION
OF
CHASTITY MILLSAPS
August 2, 2022

(Reporter disclosure made pursuant to
Article 10.B of the Rules and Regulations of the
Board of Court Reporting of the Judicial Council of
Georgia.)

THE VIDEOGRAPHER: Good afternoon. We
are now on the record. The time is now 1:58
p.m. Eastern Time on Tuesday, August 2, 2022.
This begins the videotaped deposition of
Chastity Millsaps taken in the matter of Bond
v. Federated Service, filed in the State Court
of Muscogee County, State of Georgia, case
number of which is SU2021CV002440.

The videographer today is Lucas Riahi.
The court reporter today is Linda Panzica. We
are both representing Esquire Deposition
Solutions.

Counsel, will you, please, announce your
name and who you represent, after which, the
court reporter will swear in the witness?

MR. MATTHEWS: I am Zach Matthews for

both defendants Young Oil and also Federated

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BOND V. FEDERATED SERVICE

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Insurance Company.

And before we go any further, I just want
to note: Once again, plaintiff counsel has
not shown up for these depositions, although
they have been duly noticed and are on the
docket, and also my staff sent him a link to
this Zoom deposition.

So it does not appear Mr. Breault will be
joining us again. And given his behavior so
far in not coming to these, we will assume he
does not intend to come and we will proceed.

MR. FORSYTH: Bryan Forsyth, also for the
defendants.

THE COURT REPORTER: Okay. And due to
the unique hazards caused by the current
national health emergency surrounding
COVID-19, I will be swearing in the witness
remotely.

So at this time, will the parties,
please, stipulate to my remote swearing in of
the witness, and then I'll go ahead and swear
in the witness.

MR. MATTHEWS: That is agreeable.

THE COURT REPORTER: Thank you, Zach.

And, Chastity, will you raise your right hand,

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CHASTITY MILLSAPS August 02, 2022
BOND V. FEDERATED SERVICE 6
please?

THE WITNESS: (Complies.)

THE COURT REPORTER: Thank you.

Do you solemnly swear the testimony
you're about to give will be the truth, the
whole truth and nothing but the truth, so help
you, God?

THE WITNESS: Yes, ma'am.

THE COURT REPORTER: Thank you. You can
put your hand down.

Whereupon,
CHASTITY MILLSAPS,
was called as a witness herein and, first having
been duly sworn via Zoom, was examined and
testified as follows:
CROSS - EXAMINATION
BY MR. MATTHEWS:

Q Okay. Well, Ms. -- first of all, is it
Ms. Millsaps, M-I-L-L-S-A-P-S?

A That's correct.

Q Okay. As you've heard, my name is Zach
Matthews. I'm counsel for the defendants in this
case, and we just have a few questions for you,
mostly about your time at Georgia Spine and

Orthopaedics. First thing I want to do is just

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CHASTITY MILLSAPS August 02, 2022
BOND V. FEDERATED SERVICE 7
confirm that you are not represented by counsel of

any kind. Can -- do you have a lawyer?

A No, sir.

Q Okay. And you are not represented
specifically by, either a guy named Alex Smith or a
guy named Tom Grant, correct?

A No, sir.

Q You -- you agree with me?

A Yes.

Q Okay. Have you heard from Mr. Smith or
Mr. Grant in connection with this deposition?

A No, sir.

Q Okay. Do you know who those people are?

A No, sir.

Q All right. What -- well, why don't we
start with the basic stuff. Tell me when you were
employed by Georgia Spine.

A I was employed by Georgia Spine from
20 -- about 2018 to '19.

Q Okay. And what was your job title there?
A I worked as the patient ambassador front

desk, and medical records.

Q I understand what the front desk and
medical records would be, but what is a patient

ambassador?

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CHASTITY MILLSAPS August 02, 2022
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A It's pretty much just front desk. That's
what they called the front desk staffing.

Q Okay. Did you ever work as a care
coordinator in any way?

A No, sir.

Q Not a care coordinator. Okay. What --
if you don't mind me asking, what -- are you still

employed in the medical field today or have you
gone on to a different employment?

A No, sir, I'm not in the medical field at
this time.

Q Okay. Thinking back to your time at
Georgia Spine, like I said, we mostly have record

keeping questions. What kind of software were they

using? Do you remember the name of it?

A I do not.

Q Would -- if I told you it was CareCloud,
would that ring a bell?

A Yes.

Q Okay. Did you have access to the
CareCloud software yourself?

A I did.

Q And do you remember a section of

CareCloud called the pencil notes section?

A Yes, sir.

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Q Can you just tell me what that was used

for?

A That was pretty much any notes when you
spoke to any customers or anything that needed to
be put in there because of their -- causing their
medical history.

Q Okay. Was there any other note section
in the software where you would -- for an -- for

example, you'd take notes from, like, a phone
conversation?

A We put that in the pencil notes.

Q Okay. One of the other witnesses has
also described another unit where you could go in,
you had to push a couple menu items apparently, and
then you could list in more detail the
conversations that you might have on the phone, for
example, with the plaintiff's lawyer.

Do you have any recollection of any of that?

A No, sir, I don't remember that.

Q Okay. As the front desk person, did you
ever have cause to speak with the lawyers for
Georgia Spine patients yourself?

A We -- I spoke with them more through
medical records than I did with the -- through

phone calls. But we did speak with them.

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Q Just explain what you mean by that? If

you don't mind.

A So with the medical records, I would send
any documents that they were needing straight to
the attorneys.

Q Okay.

A Whether it was just documents that they
needed or if they needed to be certified documents.
Q So for example, if an attorney sent a

request for a chart for a given patient, you would

help facilitate getting them back that chart?

A Yes, sir.

Q Okay. What about if the lawyer
requesting the documents was the lawyer for the
patient, would you also talk to them?

A We usually were -- the patient's lawyer,
yes, we would talk to them.

Q Okay. Did you ever have anything to do
with seeking from the patient's lawyer what they --
what we've -- we've heard called approval for
proposed treatment? You know what I'm talking
about?

A No, sir.

Q Okay. The description that was given by

one of your former colleagues -- did you know

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CHASTITY MILLSAPS August 02, 2022
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someone named Dena Alexander?

A It doesn't ring a bell.

Q Okay. Well, Ms. Alexander was a care
coordinator and she testified earlier yesterday
that, at times, there would be conversation with
the lawyers for the patients about whether to go
forward with treatment or not, and as she
characterized it, was kind of based on whether or
not the policies were big enough to cover the
treatment.

Did you ever have anything to do with that
process?

A No, sir.

Q Do you know anything about that process?

A No, sir.

Q Okay. Look and see here, I had your name

on a particular document. I was trying to find it.

Were you familiar with the CareCloud software
keeping what's called a "audit log"? Did you know
about that?

A No, sir.

Q You don't? Okay. Who was your -- who
was your boss? Who did you report to?

A I reported to Mi'chell Alexander and
then -- and then they -- she went to a different

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department, and then it was Nalia. I don't
remember her last name.

Q Would it be Nalia Abigantud?

A Yes, sir.

Q What were their job titles, your -- your
bosses! job titles?

A They were the managers over the front
desk.

Q Okay. And did they also have
responsibility over the care coordinators?

A I don't believe so.

Q Who was in charge of the care
coordinators?

A I'm not sure who was in charge over them.

Q Did you -- did you know where they were,
the care coordinator, like, were they in the same
building with you or were they somewhere else?

A No, sir, they were in a different
building.

Q Okay. Where -- let's -- let's back up
then. Sorry about that.

Where did you work, specifically?

A So I usually worked in the Stockbridge
office. Every once in a while they would move me

to Tucker.

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Q Okay. And where did the care
coordinators work?

A Most of them worked in Roswell. I think
some worked -- I think some worked in Atlanta.

Q Did you know them, like, did you see them
in job duty functions or maybe Christmas parties or
something?

A Yes, sir.

Q Okay. How many of them were there?

A I believe there was about five or six.

Q Do you know what their job duties were?

A No, sir.

Q Okay. And do you know who their boss
was?

A No, Sir, I don't recall who their boss
was.

Q Okay. Give me a second here, Chastity.
I'm -- I've got a couple of additional records.

Okay. I want to show you -- it's going to be
a little difficult on the screen here. But this is
the CareCloud Suite. Do you remember this page?

A It looks like the pencil notes.

Q Yes, ma'am, that's correct. So this

particular pencil note has your name on it up here.

And I'll just read it for the record. It says,

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CHASTITY MILLSAPS August 02, 2022
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"Last updated by Chastity Millsaps on 10/21/19."
And I'm mostly am just curious about how the
software worked.

When you would do an update to this block on
the right-hand side, would it automatically put a
last update in there on the top?

A Yes, sir.

Q Okay. If you opened the screen up and
you didn't make a change and you closed the screen
back down, but you had accessed it but you didn't
change anything, would it automatically give the
last updated or would it not show that?

A Unless you saved it, it wouldn't change.

Q Okay. So in order to make that sort of
last updated by you to show up, you'd have to save
the change, correct?

A Yes, sir.

Q Okay. Would it be common to open up a
screen in the pencil notes and then just push save
to close it?

A I've done that a few times on accident.

Q So you -- this kind of accidentally looks
like a change was made where really nothing was
changed; is that fair?

A Yes, sir.

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Q Okay. I understand that. I probably do
the same thing in my software, to be honest.

All right. Do you know how to interpret the
abbreviations in the CareCloud software? Like, for
example, if I show you, that's the first -- the
first CareCloud entry for this person. It says,
"RI" at the top, colon. I'll read it. It says,
"RI: attorney information for MVA 1/6/18."

A Uh-huh.

Q Do you know what that means?

A I'm not -- I don't remember what the RI
stands for.

Q Okay. It's -- it's the same block that's
got the attorney's contact information down here.

A Uh-huh.

Q And I'm wondering if it might mean
referral information. Do you think that's
possible?

A Yes, sir.

Q Okay. Did -- in your experience, did
Georgia Spine get referrals from plaintiff's
lawyers?

A Yes, sir.

Q Okay. How -- how did those typically

come in? Would they come in through you at the

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front desk or would they come in somewhere else?

A I know that they usually would send an
email or phone call, and we'd send those to the
care coordinators.

Q All right. Let's break those two down.
If they sent an email referral, like, if a lawyer
wanted to say, hey, I got a new patient who's had a
car wreck and I want to refer them to Georgia Spine
for treatment, who would they email? Would they
email the front desk or was there, like, a specific
email referral in box?

A It was a certain email address. It
wouldn't go to the front desk.

Q What was that email address?

A I don't remember the email address.

Q Was it -- was it something that sounded
like referrals@Georgiaspineortho.com?

A I -- I really don't recall it.

Q Okay. But there was a dedicated email in
box just for referrals, correct?

A Yes, sir.

Q Who would have access to that dedicated

referral in box? Would there be, like, a care
coordinator in charge or somebody else?

A It was usually -- not really sure who had

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access to it. I'm guessing possibly care
coordinator, but I really don't know.

Q You don't know? Okay. Would it have
been something that you could have accessed
yourself from the front desk or not?

A No, sir.

Q And was the email in box that the
referrals came into just like an Outlook account?

A Yes, sir.

Q Okay. So if it -- if it was an Outlook
account, would you agree that it would be possible
to go back and search that account to find a
particular patient?

A Yes, sir.

Q Okay. All right. Now you also mentioned

that sometimes referrals would come in by phone
call, right?

A Yes, Sir.

Q Who -- who would get that call? Would it

be you at the front desk or someone else?

A It'd be the front desk.

Q So you've answered some of those calls
yourself, I guess?

A Yes, sir.

Q Would -- if I just gave you an example,

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CHASTITY MILLSAPS August 02, 2022
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would it be, like, you know, ring, ring, hello.
And I say, hello, my name is John Doe. I'm an
attorney in Columbus and I've got a referral of a
patient? Is that kind of how it would happen?

A Yes, sir.

Q What would you do next? Would you refer
me to someone else or would you write it down or
how would that happen?

A We usually send it to the care
coordinator line.

Q So the care coordinators had their own,
like, internal phone line?

A Yes, sir.

Q Was there a particular care coordinator

that would answer that or was it just whoever
happened to be available?

A I'm guessing it was whoever happened to
be available, because it wasn't to one. It wasn't
just, like, to one person.

Q Okay. When those referrals came in, I
mean, you know, obviously whoever happened to
answer that, would they make a note somewhere that
there had been a new patient referred?

A They usually had a note in this -- I know

that they had a pencil note with any information.

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Q Could that be that very first one that we
talked about that's got the RI on it?

A Yes, sir, with the attorney information.

Q All right. So it sounds like if a phone
call referral came in, one of the first things they
would do would be to create -- you'd have to create
a CareCloud account for that patient first, right?

A Yes, sir.

Q In order -- I mean, 'cause my
understanding is, if you want to put a pencil note
in a given patient's chart, you first have to have
a, you know, a chart to put it in, right?

A Yes, sir.

Q Yeah. So if a care coordinator receives
a referral from a phone call, would you expect the
very first note to be the referral information
note?

A Yes, sir.

Q Okay. How many -- well, how long --
let's see, you were with Georgia Spine for -- it
sounds like about a year, a little more than a
year?

A Yes, sir.

Q Okay. How many times do you think you

fielded calls personally from lawyers who were

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trying to refer patients to Georgia Spine?

A Usually, they would send emails. We
would get one, maybe, once a day, if that.

Q Okay. So most referrals were by email,
right?

A Yes, sir.

Q But you would still get about a referral

phone call a day?

A Get one, if that, yes, sir.

Q Do you know anything about how Georgia
Spine would kind of, you know, hope to get this
business? Like, did they go marketing or did they
pay for somebody to send them referrals or have,
like, a service? How did that work?

A They did have a marketing department.

Q And what did the marketers do? Did they
go see the plaintiff's lawyers?

A I know that they would go out to the
attorney's office, but I don't know how they
marketed that way.

Q Did Georgia Spine have any kind of, like,
some -- some places have like a Falcon's game box
that they would invite people to. Was there
anything like that?

A Not that I recall.

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Q Did Georgia Spine ever throw any parties
for -- for plaintiff's lawyers?
A I know that when they had a opening for
the Roswell office, they did have them come out and
look at the Roswell office.
Q And there were lawyers at that party?
A Yes, sir.
Q How big of a party was that, like,
hundreds of people or, like, twenty-five?
A It may have been, like, 50 or so, 50,

maybe 50 to 75 people.

Q Did you go to the party yourself?

A I was there, yes, sir.

Q About -- about when was that? It would
have been, obviously, 2018, 2019.

A It was when I -- closer to when I first
started, so it was 2018.

Q Would it have been, like, summertime,
fall?

A It would have been summer.

Q Did you personally happen to know any of
those lawyers from just working with them?

A No, sir.

Q You couldn't have -- you couldn't

recognize anybody and say, oh, yeah, I know that

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guy?

A No, sir.

Q Okay. Okay. Would there have been a
way, in your experience, to try to figure out how
many referrals a given lawyer had sent to Georgia
Spine?

A Not that I would know.

Q Would -- would you have been -- for
example, could you -- would you agree that you'd be
able to go into that Outlook email account and
search up their name and see how many emails there
were?

A Yeah, you could look up -- yeah, in
Outlook, you could look up, like, the attorney's
office and it would show you all the -- all of the
emails that they sent.

Q So for example, if you had, like, a bunch
of emails from -- take one at random, Morgan &
Morgan, you could go and look up Morgan & Morgan's
email address in Outlook, and then you'd get a --
you'd get a hit for every email they'd ever sent
that had a referral in it, right?

A Yes, sir.

Q Okay. When you were there, did you ever
have any -- any instructions regarding handling

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BOND V. FEDERATED SERVICE

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subpoenas or deposition notices or anything like
that?

A That would -- that would be what the
certified records that I would -- I would just get
the records together, and then I would send it to
the manager of medical records. And he would get
everything else together and send it off. I would
just get the records and send it to him.

Q During your time at Georgia Spine, did --
you said you mostly worked in the Tucker -- Tucker
office or Stockbridge office?

A Stockbridge.

Q Yeah. When -- when you would go over to
the Tucker office, was there some reason for that,
like, you were just filling in over there or --

A Yes, Sir. As front desk, I'd fill in.

Q Okay. Who hired you?

A Mi'tchell -- I'm sorry -- Mi'chell
Alexander and Lori. They were the ones in that
interview.

Q So Mitchell is M-I-'-C-H-E-L-L, right?

A Correct.

Q I remember that. Who is -- what's Lori's
last name?

A I can't remember her last name right

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offhand.

Q Okay. Did you ever have any interactions
with Dr. Bendiks himself?

A I did in the Tucker office.

Q Okay. And what was that like? Was he
just cordial to you?

A Yes, sir.

Q Okay. Do you mind me asking why you
moved on? Did you find a better opportunity or
something like that?

A I actually got let go from there.

Q Why did that happen?

A Because we -- I sent some records that
weren't supposed to be sent and -- but it was
through email.

Q Uh-huh.

A I was corresponding with the attorney
that worked with Georgia Spine & Orthopaedics.

Q Uh-huh.

A And I took as I was supposed to send
them, and he told me I wasn't supposed to.

Q Which attorney was that? Was that Tom
Grant?

A It was -- I don't remember his name.

Q Okay.

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A 'Cause he was only there, like, a month
or two before I was let go.

Q Okay. Was it an African-American
gentleman?

A Yes, sir.

Q Was it Alex Smith?

A That sounds about right.

Q Did you have the impression that Alex was
trying to tell you not to produce records that had
been requested?

A Yes, sir.

Q Did you believe that the request called
for those records to be produced?

A I did ask him about those records --

Q Uh-huh.

A -~ through an email, and I took it as,
when he emailed me back, to send the records.

Q Okay. And he -- but he obviously
differed in that opinion, I guess?

A Yes, sir.

Q Do you remember what attorney's office
was looking for those records?

A No, sir, I do not.

Q And what -- my name is Zach Matthews with

McMickle, Kurey & Branch. Have you ever heard of

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my name before?

A I've not heard -- heard of your name.
I've heard of the law firm.

Q Okay. Had you ever heard -- was there
any -- was there any involvement in my law firm in
that exchange looking for records?

A I wouldn't -- I don't remember who it was
with.

Q Okay. Fair enough.

Did you -- did you have a -- I'm just going to
ask this. I don't know any other way to ask it.

Did you feel like there was something improper
about the way that they were handling records
requests?

A In a way, yeah, because we didn't have
meetings all the time --

Q Uh-huh.

A -- on -- on certain things. And then
we'd go through emails instead of actually talking
about it.

Q Right. So you would have liked there to
be more communication about what you were supposed
to do or not do?

A Yes, sir.

Q I understand that. That's fair. But

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I -- what I'm more interested in is did you feel
like Georgia Spine was asking you to hide or
conceal records that had been asked for?

A No, sir.

Q That's not what you're saying, okay.
Was -- what about everything else involved there?
Did you have any -- did you have any concerns of
any kind about the way that Georgia Spine practiced
medicine?

A No, sir.

Q Did you understand that the bulk of the
patients that were coming in the door had lawsuits?

A Yes, sir, for car accidents?

Q Yes, ma'am. Was that generally

understood by everybody that worked there?

A Yes, sir.

Q What -- what would people talk about with
respect to that in the business? Would they just
say openly, yeah, we work on car wreck victims?

A Yes, sir, people that had been in car
accidents.

Q Yeah. Did you ever have any sense that
there was any kind of, like, shenanigans going on
or people that were being overbilled or given

treatment they didn't need?

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A Not to my knowledge.

Q Okay. All right. Ms. Millsaps, if you
just give me just a second, I'm going to phone my
colleague Bryan here and have a quick discussion
off the record. And we're just about done.

A Okay.

Q Thank you very much. I'm going to pause
this thing, okay?

THE VIDEOGRAPHER: Okay. We are now
going off the record at 2:24.

(Whereupon, after a brief recess was
taken, the proceeding resumed.)
THE VIDEOGRAPHER: We are now back on the
record at 2:27.
BY MR. MATTHEWS:
Q Okay. Ms. Millsaps, we really are almost

done. I just wanted to ask you a couple more quick

questions about training on records requests.
A Okay.
Q When -- but since you were the person

that was responding to records requests, did you
ever have meetings or training, even when you first
started, about what you were going to be doing?

A So I was trained on it, like, it -- they
would send me authorization for the records if it

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was the customer's -- or sorry -- the patient's
attorney, and I would send them the record. The
certified records were usually the other attorney.

Q The defendant's attorney?

A Yes, sir. But we never really had
meetings. It was just the one -- pretty much just
the training.

Q Did you ever get told anything like, when
a request comes in for records, we'll send records

and bills but we won't send emails or pencil notes?

Did you ever have that kind of a discussion?

A No, Sir, ‘cause when I -- when -- that
was what the email was about, because they were
just starting to talk about sending the pencil
notes. And he said that I was supposed to send
them -- or I took it as I was supposed to send the
pencil notes, and I apparently wasn't. But it was
something new that they were starting but we never
had training on it.

Q Okay. So -- and that -- that does get to
what I have in mind here. You sent -- let me see
if I get this straight. You sent pencil notes in
response to a discovery request, and then you got
fired for it because Alex Smith didn't think you

should have sent those; is that right?

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A Yes, sir. He said that I wasn't supposed
to send them, but I took the email as I was
supposed to send them.

Q Did you ever have -- even if you don't
remember the case, did you read the discovery
request that was sent to you?

A I usually read over the -- or read over
the certified documents that came in.

Q Right. When the -- when you would get a
request for those documents, did you ever read the
list of things that the lawyer was asking for?

A Yes, sir.

Q And in the circumstance that you got
fired for, did the lawyer ask for the pencil notes?

A Yes, sir, it was asking for the pencil
notes.

Q And you provided them in response to the

request, and then Alex fired you for it?

A Alex didn't fire me for it. Lauri and
Nalia were the ones that came and gave me the
termination notice.

Q Did they explain to you why they didn't
want to turn over the pencil notes?

A No, sir.

Q Did they say anything about how that was

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going to let the other side understand their
business model better or anything like that?

A No, sir.

Q So you got -- just so I understand, you
got a discovery request, you read it, it asked for
the pencil notes, you put them together and
provided them, and then they canned you for that?

A Well, because I never sent the pencil
notes, I've reached out to Alex about it.

Q Uh-huh.

A And so I was shown how to get the pencil
notes before on how to generate -- or get a picture
of them or however to send them. And so I took it
as I was -- by the email, I was supposed to send
them. But they never -- I didn't send them 'til I
asked because that's not was -- that wasn't
something I normally sent out.

Q Had there been a policy or something like
that about not sending pencil notes before that?

A Yes, sir, we didn't ever send the pencil
notes.

Q Were you instructed, don't send these
out?

A So I -- when I first started, they --

they said no sending the pencil notes.

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Q Who told you that?

It was Garen. I don't remember his last
name. He was the one that trained me in medical
records.

Q You say Darren, like D-A --

A No, Sir, Garen, G-A-R-E-N.

Q Was it -- was it in the nature of, even
if they request these, we don't send them?

A Yes, sir.

Q Okay. Did you have the impression that
they knew that those were something that should
have been turned over and they were trying not to
turn them over?

A That I don't know.

Q Okay. And you say the policy on sending
pencil notes changed, or you thought it had
changed, right?

A Uh-huh. Yeah, they were talking about we
were going to start sending pencil notes. And I
was trying to figure out how that worked through
email with Mr. Alex.

Q Uh-huh.

A And that's how the email got sent.

Q So you were trying to figure out how it

worked, he emailed you back, you interpreted that

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as a green light to produce the pencil notes, and

then he felt like that wasn't the right thing to do
and you got terminated for it?

A Yes, sir.

Q Okay. Do you mind telling me what day
you were terminated?

A It was February 14th, that's Valentine's
Day, right?

Q Valentine's Day, great, yeah.

A Yeah.

Q Of 2019?

A Yes, sir.

Q And when -- had you sent the pencil notes
out, like, a couple days before that or that same
day or what?

A I believe it was that Friday before.
Monday -- that -- it -- it was either that Friday
before or the Monday of.

Q And you don't remember what firm you sent
it to?

A No, sir.

Q Okay. All right. Ms. Millsaps, is there
anything I have not asked you about that that you
wanted to share with me?

A No, sir.

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not synced.

THE VIDEOGRAPHER: Great. Is there
anything else you want to get on the record
before I take us off?

MR. MATTHEWS: I don't think so.

THE COURT REPORTER: All I'd like to
know -- one second, before we're off the
record, as far as your copy of the transcript,
Zach, same as yesterday, just an electronic?

MR. MATTHEWS: Electronic, no rush. Yes,
ma'am.

THE COURT REPORTER: All right. Thank

you so much, everyone.

THE VIDEOGRAPHER: This concludes today's

deposition of Chastity Millsaps. We are now

going off the record on Tuesday, August 2,

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Q All right. Well, hey, I really
appreciate your time today. Thank you so much.
And I hope you have a very good day.
A You, too. Thank you.
THE VIDEOGRAPHER: Okay, Counsel, before
we go off the record, would you like a copy of
your video synced with the transcript or not
synced?
MR. MATTHEWS: A copy of the video, yes,

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2022,

at 2:34.

(Whereupon,

concluded at 2:34 p.m. Eastern Standard Time.)

the above-styled matter

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CERTIFICATE
STATE OF GEORGIA
COUNTY OF COBB

I Linda Panzica, Certified Court Reporter and
Notary Public, within and for the State of Georgia,
do hereby certify:

That the deposition of CHASTITY MILLSAPS was
held via videoconferencing equipment. The witness
and I were not in the same room. The witness was
duly sworn in by me remotely pursuant to agreement
of all parties. All parties stipulated that the
testimony was given as if the witness was sworn in
person and may proceed via videoconference rather
than in person due to the unique hazards caused by
the current national health emergency surrounding
COVID-19. And that this transcript of said
testimony is a true record of the testimony given
by said witness.

The above certification is expressly withdrawn
upon the disassembly or photocopying of the
foregoing transcript, unless said disassembly or
photocopying is done under the auspices of Esquire
Deposition Solutions and the signature and original

seal is attached thereto.

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I further certify that I am not relative,
employee, attorney, or counsel of any of the
parties; nor am I financially interested in the
outcome of this matter.

This 2nd day of August 2022.

PA ~

Linda Panzica
Certified Court Reporter
License No. 2773

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DISCLOSURE

Pursuant to Article 10.B of the Rules and
Regulations of the Board of Court Reporting of the
Judicial Council of Georgia, I make the following
disclosure:

I am a Georgia Certified Court Reporter. I am
here as an independent contractor of Esquire
Deposition Solutions.

Esquire Deposition Solutions was contacted by
the offices of MCMICKLE, KUREY & BRANCH, LLP to
provide court reporting services for this
deposition. I am not taking this deposition under
any contract that is prohibited by 0.C.G.A. §
15-14-37 (a) and (b). I have no contract or
agreement to provide court reporting services with
any party to the case, any counsel in the case, or
any court reporter or reporting agency from whom a
referral might have been made to cover this
deposition. Esquire Deposition Solutions will
charge its usual and customary rates to all parties
in the case, and a financial discount will not be
given to any party to this litigation.

This 2nd day of August 2022.

Linda Panzica, CCR

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